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                  /            UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                             DOCKET NO. 1:17-CR-10281-PBS-2



  ^ UNITED STATES

                                       MOTION TO CONTINUE TRIAL DATE
  h '
  ^ MINERVA RUIZ
                                       (ASSENTED TO)



               The Defendant, Minerva Ruiz, moves the Court, through
           Counsel, to continue her April 1, 2019, trial date to a date in
^ r-
  n the last week of July, 2019

               As reasons therefor:

               On January 11, 2019, the Defendant's previous attorney,
               Scott Gleason, Esq., was required to withdraw due to a
               conflict of interest.

               Ms. Ruiz recently hired present Counsel, who is this day
               filing his appearance.

               Counsel has a scheduling conflict on April 1, 2019.              He
               will be on a rape trial in Suffolk County Superior Court.
               Following the trial, he is out of the country on pre-
               planned travel.

               Based on Counsel's trial schedule, the Defendant is
               requesting a trial date in the last week of July.
       6       The Assistant U.S. Attorney has noted her assent to this
               motion.


               Wherefore, the Defendant moves that this motion be Allowed
       and that the continuance period be excluded from the Speedy
       Trial Act.
